                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA


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        PROCEDURES AT THE                        )
    UNITED STATES COURTHOUSE                     )
                                                                   ORDER
           AT NEW BERN                           )
                                                         (as amended August 16, 2021)1
       DURING THE COVID-19                       )
            PANDEMIC                             )
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                                                 )


      In light of the pandemic of the novel coronavirus known as COVID-19, and
precautions recommended by public health officials to reduce its spread, the court
adopts the following procedures for conduct of criminal and civil proceedings at the
United States Courthouse at New Bern, North Carolina:

       1.      Access. Entry to the courthouse remains limited by the terms of the
               court’s March 12, 2020, Standing Order No. 20-SO-4, a copy of which
               is attached hereto for ease of reference. Additionally, all individuals
               shall perform a health self-assessment and take their temperatures prior
               to coming to the courthouse. Individuals with a temperature greater than
               100.4 °F or those experiencing symptoms such as cough, shortness of
               breath, difficulty breathing, chills, sore throat, or loss of taste or smell
               shall not enter the courthouse.

       2.      Vulnerable Individuals. Due to increased risk of severe illness from
               COVID-19, the following vulnerable individuals (including counsel)
               are not required to appear for a hearing at the courthouse, but may do
               so if they choose: a) individuals 65 years and older; b) people of all ages
               with underlying medical conditions, such as chronic lung disease,
               moderate to severe asthma, serious heart conditions, immune disorders,
               obesity, diabetes, or chronic kidney or liver disease; and/or c) those

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        Procedures set forth in paragraph eight are subject of amendment, to reflect changes to
certain sanitization protocols. All other procedures specified in the original order entered June 18,
2020, remain unchanged.
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        living with individuals who satisfy the foregoing criteria. If a
        vulnerable individual’s absence pursuant to this provision would be
        likely to make continuation of a criminal proceeding impossible, or
        result in a miscarriage of justice, resulting delay may be excluded from
        computation under the Speedy Trial Act of 1974.

3.      Face Coverings. For the protection of everyone, all individuals
        seeking entry to the courthouse, including but not limited to jurors,
        attorneys, litigants, contractors, and employees, are required to wear a
        face covering that covers the wearer’s nose and mouth simultaneously
        in all public spaces, including courtrooms and security checkpoints,
        unless directed by the court otherwise. A face covering will be
        available for any individual who does not have one and, additionally,
        gloves will be provided to any juror requesting same; however, due to
        limited supplies all entrants are encouraged to utilize their own,
        personal resources.

4.      Social Distancing. Upon entering the courthouse, all individuals shall
        observe social distancing by maintaining at least six feet of physical
        distance from others at all times. All individuals shall make every effort
        to limit items brought into the courthouse to avoid the necessity of a
        secondary screening by Court Security Officers.

5.      Hand Sanitizer. Hand sanitizer will be available in public areas of the
        courthouse. Entrants are encouraged to bring an appropriate self-use
        supply of hand sanitizer or disinfectant wipes with them to the
        courthouse.

6.      Scheduling. Counsel, parties, and attendees are strongly encouraged
        to arrive timely only FOR those cases in which they personally are
        involved or interested. The court may limit the number of individuals
        in the courtroom gallery.

7.      Pre-Hearing Conferences and Conferences During Hearing or
        Trial. Counsel in any criminal case will be permitted to meet with
        counsel’s client immediately prior to the hearing. Such conference will
        occur in the traditional space provided by the United States Marshal for
        attorney-client meetings to allow for security and appropriate social
        distancing. If at any time during a court proceeding in a civil matter a
        private consultation is required, counsel and the party will be permitted
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        to do so by meeting in an adjacent conference room where social
        distancing may be observed, or by any other means appropriate to
        reduce any health risk. Any extended meeting between counsel and a
        criminal defendant may occur in the traditional space provided by the
        United States Marshal for attorney-client meetings to allow for security
        and social distancing.

8.      Cleaning. Areas of the courtroom, including surfaces in and around
        counsel tables, witness stand, jury box, and the gallery occupied by any
        spectator, will be cleaned and sanitized daily by contract personnel
        retained by the building’s owner, U.S. General Services
        Administration. To the extent possible, disinfectant wipes and/or hand
        sanitizer will be made available by the court at stations throughout the
        building and at counsel tables in the courtroom. Anyone may bring an
        appropriate self-use supply of hand sanitizer or disinfectant wipes into
        the courtroom.

9.      Motions to Continue. Recognizing that circumstances and health risk
        issues can change rapidly, the court will consider health-based motions
        to continue at any time, including during the particular court
        proceeding. Any such motion made the day of a proceeding may be
        made by counsel by telephone to the Judge’s Case Manager without
        necessity of a written motion as long as a subsequent confirming written
        motion is filed within 24 hours. The United States Marshals Service or
        its designee shall have the authority to refuse to transport any criminal
        defendant to the courthouse upon detection of any health risk. The
        Marshal shall notify the court as soon as reasonably possible upon such
        event.


SO ORDERED, this the 1th day of $XJXVW, 202.



                                            __________________________________
                                            LOUISE W. FLANAGAN
                                            United States District Judge




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STANDING ORDER NO. 20-SO-4




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